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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BROWGLEY RUSSELL, and                           )
JIMMY BURRIS,                                   )
                                                )
                               Plaintiffs,      )
                                                )     Case No. 20-cv-420
               v.                               )
                                                )     Judge LaShonda A. Hunt
                                                )
                                                )     Magistrate Judge Heather K. McShain
                                                )
CITY OF CHICAGO,                                )
                                                )
                               Defendant.       )

      DEFENDANT CITY OF CHICAGO’S MOTION FOR EXTENSION OF TIME
                     TO FILE JOINT STATUS REPORT

       Defendant City of Chicago (“the City”), by and through its attorney, the Office of the

Corporation Counsel, hereby moves for an extension of time to file a Joint Status Report (“JSR”)

pursuant to the Court’s Order dated April 10, 2024 (Dkt. No. 260).

       1.      In the Parties’ status report dated April 5, 2024, Plaintiffs’ counsel indicated that

Plaintiffs intend to disclose an expert witness and counsel of the City indicated that the City

intends to issue expert discovery and take the deposition of Plaintiffs’ expert. Dkt. No. 259.

       2.      On April 10, 2024, this Court ordered the Parties to submit a JSR by April 19,

2024 with the Parties’ proposed expert discovery schedule. Dkt. No. 260.

       3.      On April 19, 2024, having not received any correspondence from Plaintiffs’

counsel regarding the JSR, counsel for the City prepared a draft and sent it to Plaintiffs’ counsel

at 3:03 p.m. Plaintiffs’ counsel responded with edits at 11:58 p.m.
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        4.      Counsel for the City reviewed Plaintiffs’ counsels’ edits and responded on April

21, 2024 at 3:36 p.m. Counsel for the City has not received a response as of the filing of this

motion.

        5.      Accordingly, the City respectfully requests an extension of time until April 22,

2024 for the Parties to finalize and file their JSR.

        WHEREFORE, the City requests that this Court extend the deadline for the Parties to file

their joint status report to April 22, 2024.

Dated: April 21, 2024                                  Respectfully submitted,

                                                       Office of the Corporation Counsel,


                                                       By: /s/ Derek R. Kuhn
                                                       Derek R. Kuhn
                                                       Chief Assistant Corporation Counsel

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